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                Exhibit A
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               THE PARTIES’ STATEMENT OF UNCONTESTED FACTS

       Pursuant to Local Rule 16.5(d)(2), the parties jointly submit the following facts which are

established by pleadings or by stipulations or admissions of counsel.

       1.      American Airlines Group Inc. (“American”) is a Delaware corporation, with its

headquarters and base of operations located in Fort Worth, Texas.

       2.      American provides scheduled air transportation for passengers in the United

States and worldwide.

       3.      American operates hubs in Charlotte, NC, Dallas/Fort Worth, TX, Los Angeles,

CA, Miami, FL, New York, NY, Philadelphia, PA, Phoenix, AZ, and Washington, DC.

       4.      American provides nonstop and connecting service between each of Boston

Logan International Airport (“Boston” or “BOS”), John F. Kennedy International Airport

(“JFK”), LaGuardia Airport (“LGA”), and Newark Liberty International Airport (“Newark” or

“EWR”) and certain domestic destinations.

       5.      American provides nonstop and connecting service between each of Boston

Logan International Airport (“Boston” or “BOS”), John F. Kennedy International Airport

(“JFK”), and Newark Liberty International Airport (“Newark” or “EWR”) and certain

international destinations worldwide, including London Heathrow Airport.

       6.      American has entered into certain alliances and joint business agreements with

foreign airlines, some of which involve prescribed methods of capacity coordination, revenue

sharing and price coordination under antitrust immunity.

       7.      There are three international airline alliances that include American, Delta Air

Lines, and United Airlines: Oneworld, SkyTeam, and Star Alliance.

       8.      American is a founding member of the Oneworld international airline alliance,


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which was established in February of 1999.

       9.      American is part of the Atlantic Joint Business Agreement, through which it

partners with Aer Lingus, British Air, Iberia, and Finnair.

       10.     JetBlue Airways Corporation (“JetBlue”) is a Delaware corporation, with its

headquarters in Long Island City, New York.

       11.     JetBlue was incorporated in 1998.

       12.     JetBlue provides scheduled air transportation for passengers in the United States,

Latin America and the Caribbean, the United Kingdom, and Canada.

       13.     JetBlue has six focus cities: New York, Boston, Fort Lauderdale/Hollywood,

Orlando, Los Angeles, and San Juan, Puerto Rico.

       14.     JetBlue provides nonstop and connecting service between each of BOS, JFK,

LGA, and EWR and certain domestic destinations.

       15.     JetBlue provides nonstop and connecting service between each of BOS, JFK, and

EWR and certain international destinations in Latin America, the Caribbean, and the United

Kingdom.

       16.     New York City is the largest business market for any U.S. airline. New York City

corporate passenger share is larger than the next three corporate markets combined. Boston is the

second-largest northeast business market.

       17.     JetBlue offers a premium and full-service cabin product called Mint.

       18.     On May 19, 2021, prior to entering into the Northeast Alliance, JetBlue publicly

announced plans to launch transatlantic service from New York to London and from Boston to

London. JetBlue’s inaugural flight from JFK to London Heathrow Airport (“LHR”) was on

August 11, 2021, and its inaugural flight from BOS to LHR was on August 4, 2022.



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       19.     American and JetBlue entered into the Northeast Alliance (“NEA”) on July 15,

2020. The terms of the partnership are memorialized through the Northeast Alliance Agreement

(as amended by the First, Second and Third Amendments), the Mutual Growth Incentive

Agreement (as amended by the First Amendment), the Codeshare Agreement, the Bilateral

Special Prorate Agreement, the AAdvantage Participating Carrier Agreement and the TrueBlue

Participating Carrier Agreement.

       20.     American and JetBlue began to implement the Northeast Alliance in February

2021 and have continued to implement the NEA up to present day.

       21.     On January 10, 2021, American and JetBlue signed an agreement with DOT

whereby DOT agreed to terminate its review of the Northeast Alliance subject to certain terms

and conditions.

       22.     On September 21, 2021, the Department of Justice instituted this lawsuit on

behalf of the United States to enjoin the Northeast Alliance.

       23.     BOS is a single origin and destination endpoint for market definition purposes.




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